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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

KERI ANN FLACCOMIO

Plaintiff,

VS. : No.
THE RED CHALET LAKE HARMONY c/o
GAYLE TURTZO, GAYLE TURTZO, BRIAN
TURTZO and AIR BNB

Defendants.

DEFENDANTS GAYLE TURTZO, THE RED CHALET LAKE HARMONY
c/o GAYLE TURTZO AND BRIAN TURTZO’S
NOTICE OF REMOVAL

Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendants Gayle Turtzo,
The Red Chalet Lake Harmony c/o Gayle Turtzo, and Brian Turtzo (hereinafter the
“Turtzo Defendants”) hereby give notice of removal of this action, captioned Keri
Ann Flaccomio v. Gayle Turtzo, et al. Case No. 23-cv-1838 from the Carbon
County Court of Common Pleas to the United States District Court for the Middle
District of Pennsylvania. Pursuant to 28 U.S.C. § 1446(a), the Turtzo Defendants

provide the following statement of the grounds for removal:

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BACKGROUND

1. On September 20, 2023, Plaintiff Keri Ann Flaccomio filed her
Complaint, attached hereto as Exhibit “A.”

2. Upon information and belief, the Turtzo Defendants have not yet been
served with the Complaint by Plaintiff.

3. The Turtzo Defendants do not waive service of process by filing the
instant Notice of Removal.

4. Pursuant to 28 U.S.C. § 1446(b), this Notice of Removal is timely
because it has been filed before or within 30 days of Plaintiff’s service of the

summons and Complaint on the Turtzo Defendants.

VENUE AND JURISDICTION

5. Venue is proper in this Court pursuant to 28 U.S.C. §§ 84(a), 1391,
1441(a), and1446(a) because the Carbon County Court of Common Pleas, where
the Complaint was filed, is a state court within the Middle District of
Pennsylvania.

6. This Court has subject matter jurisdiction under 28 U.S.C. § 1332(a)
because (1) there is complete diversity of citizenship between Plaintiff and
Defendants; (2) the amount in controversy exceeds $75,000, exclusive of interests

and costs; and (3) all other requirements for removal have been satisfied.

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I. THERE IS COMPLETE DIVERSITY OF CITIZENSHIP BETWEEN
PLAINTIFF AND DEFENDANTS

7. There is complete diversity of citizenship here because Plaintiff is a
citizen of New Jersey, the Turtzo Defendants are citizens of Pennsylvania, and
Defendant Airbnb is a citizen of Delaware and California. The diversity
requirement is satisfied where, as here, an action “is between... citizens of
different States.” 28 U.S.C. § 1332(a)(1).

8. Upon information and belief, Plaintiff Keri Ann Flaccomio is
domiciled in New Jersey and is therefore a citizen of New Jersey. See Exhibit “A”
at ¥1.

9. The Turtzo Defendants are domiciled in Pennsylvania and therefore
citizens of Pennsylvania. Jd. at 92-4.

10. For purposes of diversity jurisdiction, a corporation is "a citizen of
every State and foreign state by which it has been incorporated and of the State or
foreign state where it has its principal place of business." 28 U.S.C. § 1332(c)(1).

11. Upon information and belief, Airbnb, Inc. is a Delaware Corporation
with its principal place of business in California. Therefore, Airbnb is a citizen of
Delaware and California.

Il. THE AMOUNT IN CONTROVERSY EXCEEDS $75,000.

12. "[A] defendant's notice of removal need include only a plausible

allegation that the amount in controversy exceeds the jurisdictional threshold."

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Dart Cherokee Basin Operating Co. v. Owens, 574 U.S. 81, 89 (2014). "Unless it
appears to a legal certainty that the claim set forth in the complaint is for less than
the jurisdictional amount, the amount in controversy requirement is deemed
satisfied." Bryfogle v. Carvel Corp., 666 F. Supp. 730, 732 (E.D. Pa. 1987) (citing
St. Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 289 (1938)). "[W]hen
a defendant seeks federal-court adjudication, the defendant's amount-in-
controversy allegation should be accepted when not contested by the plaintiff or
questioned by the court." Dart Cherokee Basin Operating Co., 574 U.S. at 87.

13. Here, Plaintiff alleges that she suffered a fractured right humerus and
her treatment has included three surgeries since the time of the fall. See Exhibit
“A” at J995-96. Plaintiff also alleges that her damages exceed the threshold
below which arbitration is mandatory. See Exhibit “A” generally.

14. "As the plaintiff[s] allege[] to have suffered serious injuries and
seek[] related damages, . . . it is not legally certain the amount in controversy is
less than $75,000. Thus, the amount in controversy requirement is satisfied."
Pickett v. Target Corp., 2021 WL 5163220, at *2 (M.D. Pa. Nov. 5, 2021)
(citation omitted).

15. Pursuant to 28 U.S.C. § 1446(d), the Turtzo Defendants will give
written notice of the filing of this Notice of Removal to all adverse parties of
record in this matter, and will file a copy of this Notice with the clerk of the state

court.

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WHEREFORE, Defendants Gayle Turtzo, The Red Chalet Lake Harmony
c/o Gayle Turtzo, and Brian Turtzo notify this Court that this Action is removed
from the Court of Common Pleas of Carbon County, Pennsylvania to the United
States District Court for the Middle District of Pennsylvania pursuant to the

provisions of 28 U.S.C. §§1332, and 1446.

WOOD SMITH HENNING & BERMAN, LLP
‘Powe lo Doce
By:

Kamela Devole, Esquire
Sarah Connor, Esquire

Attorneys for Defendants,

The Red Chalet Lake Harmony c/o Gayle
Turtzo, Gayle Turtzo and Brian Turtzo

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